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                                                                       JS-6



                 UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA




     JOY CASTANARES,                    CV 21-5973 DSF (PVCx)

          Plaintiff,
                                        JUDGMENT
                       v.

     JP MORGAN CHASE BANK,
     N.A., et al.,

          Defendant.



       The Court having previously issued an Order to Show Cause re
    Dismissal for Lack of Prosecution and Plaintiff not having
    responded or shown a reason why the action should not be
    dismissed in its entirety for the failure of plaintiff to serve
    pursuant to Fed. R. Civ. P. 4(m),
       IT IS ORDERED AND ADJUDGED that this action be
    dismissed.


     Date: November 23, 2021            ___________________________
                                        Dale S. Fischer
                                        United States District Judge
